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I_:‘~Z "`HE CIRC¥.€IT COURT
W§~.?\i?§§§ I`B JUD!CX AL CIRCUIT

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§ \. L..¢\. I’{ COUNTY, ILLINOIS

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Plainfi§"` z_.

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&\¢»v ;.;'~r<‘r~~‘~ ;z_'.~ ;. ,
"'J'ii's`l‘ai. ~~.l‘»?x.”“\.k'.~`) »s’c'Lg!ir’\)l:'!.

  
 

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§ ames =:C_zz': §?~: 's-'n.:.~ ~.~‘§§;ea; o mm lmough her attomeys, `Fhomas G. Maag and the Maag

ice §';-::z cause of»action against, Wal-Mart Stores, Inc., d.b.a Sam’s Club.

 

states as fol§:;¢.~.-

`s‘hai on of about l\-§ ;'zn<:‘ .z 21._ _-`-.i.!‘#.~"r, P 3.-1.§.1!1'-.`“§` Dawne Mil!er (“Miller”) was shopping at the

` .z", G'Fal;§om liiznois.
“ exs x'e§ev»:ant, Defeno`.am \}v’a¥”Mart Stores, Ino. (“Sam“), operates the Sam’s
o§-:

Ciub.- §~o¢ateé in O’Failon, ?I§in

"£`§§at' sip `€>§.~':iz::i?"?` '1 :Y‘o¢“)nw ar Ue."er-.dant Sam’ 3 employees were mopping the

*:`;eor. z:: : \" .zc- f .->=.; cof doing so` spread soapy water across the floor.

;`:~£? :z>.:::\f";:: =: Defc:;»uiazzt` nor any of iTS agents or employees, placed.any warnings or other

i&£eieé§‘;ious around the wet fioor lar \.;o:i;”j/ pe:'::ons, such as Piaintiff, that the floor Was, in

?_E;ai tx : ~' ` ' was acluz.=iig p zeceo` on the floor by agents and/or employees of

`21 z'i-e courses dec-o cpc of their duty with Defendant

Dci`cmz._..zr_

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l t'z. ,"\.t‘ a.€'i §fzz";';z:~: ;'ele\,‘z.t;sr., Y?eema ‘ fm s . -"lu't§-' under the illinois Premises Liability Act, of
r- zasc.: ‘\'=¢! . n#;.:r the; assurances regarding the state of the premises or acts done

{l`:`{}h“}:'-l£`s § ‘». -§".-" _`i`;

:. in vioist;cm zi)t` irs doty of ca:'c\ Det`endant caused, through its agents and employees
zal‘;~' \'-ce.z».e: - - :l:.ca 1 en ct-._c, zim-z on its store in O’Fallon, Illinois, during normal
eu_~;:?r\.\;.~ts S)~ ..;z'» \\ z t:: let \.~ a:ain‘_;; 'I-’l: i: z-‘itt. »,~: others, of the existence of the hazard.

8. A. : ""»'j:*:.ate ;2'.€. se of the fore suing Plaiutil`f slipped and fell on the soapy water, and
t}':e;:e$)y was ;z-.§'..l': ci
91 .S.s a term Slzzr:tc ss ~:> " we -"'.'on s_'_<:ing. Plaiut?.tt has been injured m an amount in excess
§§;';`€l!."='.:»f_.)`:€“~
WHER'§£¥"O§{.?_ . ~’€;r§r.ti r l}'a'. ne i\/§iller t:w_ nly-requests that this Honorable Court enter

judgment iii he z`,,'zz~:g:_; md f \; us; I`.F:-'.F-;:'_ i;~;-_'zi 's'§'z-.é ~‘~.'::r*; Stox'es, lnc., in an amount in excess of

350,{?0<.`?.=}9. ;-?‘:2~' ;':»._'.'<‘.» <>"`"s 112 4:;=:Ll -:¢eh ur§";e."._ further and different relief as is allowed by law.

Dated; ?“`e`e;'¢.za:'j, 31 §§ § ;'~ _, ’ Respectfully Submitted,
Dawn M_iller
/

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.//él-»_~._

Ey!/ "’_"”"

Thomas G. Maag #6272640
Maag Law Fir'm, LLC

22 Wcst .!.orer;a A\'enue
Wood Rivexf. IL 62095

,.,.`,n.v »

Phone: 618-21 6- 5291

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‘ es that this case has a value in excess of

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§ 5350.'13-3'.1~ .t`»~tl ~' omsxwe `ini:" :es'.'.'t=_zd ':osts 4 /-'“'““
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' . '. j , _-'- ;};‘ ¢~'

 

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twice 09 ” __ _ ' \,..»
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